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' Case 2:13-cV-O7835-FI\/|O-CW Document 1 Filed 10/23/13 Page 1 of 13 Page |D #:2

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Attorneysfor Plaintif,
David Vaccaxo

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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DAVID VACCARO, Case NO.. CV13 _ 07835 FMO (CWX)
Plaintiff, COMPLA[NT FOR DAMAGES FOR
VIOLATIONS OF:
V.
PRINCE'P R & PRACTICES ACT, 15 U. s. C.
ASSOCIATES, INC., § 1692 ET SEQ. A’ND
Defendant. II. THE ROSENTHAL FAIR
DEBT COLLECITON
PRACTICES ACT, CAL.
CIV. CODE § 1788, ET SEQ.
JURY TRIAL DEMANDED

 

 

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INTRoDUCTIoN

The United ‘ States Congre'ss has found abundant evidence of the use of "

abusive, deceptive, and unfair debt collection practices by many debt

collectors, and has determined that abusive debt collection practices contribute

to the number of personal bankruptcies, to..marital instability, to the loss of

jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq., to eliminate abusive debt
collection practices by debt collectors, to insure that those debt collectors who

reBain from using abusive debt collection practices are not competitively

~ disadvantaged, and to promote consistent ‘State action to protect consumers

against debt collection abuses.~

The California legislature has determined that the banking and credit system
and grantors of credit to consumers are dependent upon the collectionof just
and owing debts and that unfair or deceptive collection practices undermine
the public confidence that is essential to the continued functioning of the

banking and credit system and sound extensions of credit to consumers. The

Legislatare--l'ras~-f\lr=ther determined»f~that--there is a~-need=-to».ensure» that debt-

collectors exercise this responsibility with fairness, honesty, and due regard
for the debtor’s rights and that debt collectors must be prohibited &om'
engaging in unfair or deceptive acts or practices1 l

DAVID VACCARO (“Plaintiff’), by Plaintiff’s attomeys, brings this action to
challenge the actions of PRlNCE-PARKER & ASSOCIATES, INC.
(“Defendant”) with regard to attempts by Defendant, debt collectors, to
urilawh.llly and abusively collect a debt allegedly owed by Plaintiff, and this

conduct caused Plaintiff damages

 

1 cal.,civ. code §§ 1788.1 (a)-(b)

 

CoMPLAINT FoR DAMAGES PAGE 2 oF 8

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' Case 2:13-cv-O7835-F|\/|O-CW Document 1 Filed 10/23/13 Page 3 of 13 Page |D #:4

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Plaintiff makes these allegations on information and belief, with the exception
of those allegations that pertain to a plaintiff, or to a plaintiff s` counsel, which
Plaintiff alleges on personal knowledge

While many violations are described below with specificity, this Complaint

. alleges violations of the statute cited in its entirety.

///
///

Unless otherwise stated, all the conduct engaged in by Defendant took place
in California.
Any violations by Defendant were knowing, willful, and intentional, and
Defendant did not maintain procedures reasonably adapted to avoid any such
violation._
Unless otherwise indicated, the use of Defendant’s name in this Complaint
includes all agents, employees, officers, members, directors, heirs, successors,
assigns, principals, trustees, sureties, subrogees, representatives, andinsurers
of Defendant’s named.

JURISI)ICTIoN AND VENUE
Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §

--1»69~2(k)-and 28~U.S.C. §~ 1367~» for supplemental-mate claims.l W ~ '- ~~ ~~ -

This action arises out of Defendant’s violations of: (i) the Fair Debt Collection
Practices Act, 15 U.S.C. §§ l692-l692(p) (“FDCPA”); and, (ii) the Rosenthal
Fair Debt Collection Practices Act, Cal. Civ. Code 11 1788, et seq.
(“RFDCPA”). '

. Because Defendant conducts business within the State of California, personal

jurisdiction is established
Venue is proper in the Central District of California pursuant to 28 U.S.C. §
1391 because Plaintiff resides within the Central District and the conduct

complained of herein occurred within this district

 

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‘Case 2:13-cv-O7835-F|\/|O-CW Document 1 Filed 10/23/13 Page 4 of 13 Page |D #:5

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PARTIES

~ 13. Plaintiff is a natural person who resides in the County of Los Angeles, State of

California, from whom a debt collector sought to collect a consumer debt
which was due and owing or alleged to be due and owing from Plaintiff In
addition,. Plaintiff is a ‘.‘consumer” as that term is defined by 15 U.S.C. § ~
1692a(3).

14. Plaintiff is informed and believes, and thereon alleges, that Defendant is a
company operating &om the State of North Carolina.

15. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
ordinary course of business, regularly, on behalf of themselves or others,
engage in “debt collection” and are therefore"‘debt collectors” as the terms are
defined by 15 U.S.C. § 1692a(6).

16. This case involves money, property or their equivalent, due or owing or
alleged to be due or owing from a natural person by reason of a consumer
credit transaction As such, this action arises out of a “debt” as that term is
defined by 15 U.S.C. 1692a(5).

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17. At all times relevant, Plaintiff is an individual residing within the State of
California.

18. Plaintiff is informed and believes, and thereon alleges, that at all times
relevant, Defendant conducted business in the State of California.

19. ln or about 2009, Plaintiff allegedly incurred financial obligations in the form
of Plaintiff’s personal cellular telephone usage to the original creditor, AT&T,
that were money, property, or their equivalent, which is due or owing, or
alleged to be due or owing, from a natural person to another person and were
therefore “debt(s)” and a “consumer debt” as the terms are defined by 15
U.S.C. § 1692a(6).

20. Subsequently, the alleged debt was allegedly assigned, placed, or otherwise

 

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23.

. Following receipt of these telephonic communications, Plaintiff reminded

~ Defendant-ia at- Rlaintiff~had-»issued a~cease and»desist rear-test te Defendant

25.

transferred, to Defendant for collection.
From September 2013 through the present, Plaintiff has received multiple
telephone calls from Defendant attempting to collect Plaintiff’s alleged debt.

These telephone calls were “communications” as 15 U.S.C. § 1692a(2).

.On$eptember_..lO, 20,13,_1P1aintiff requested.in.writing via fax.thatDefendant. __

cease and desist further communications with Plaintiff. Thereafter, on
September 10, 2013, at 12118 p.m. and 12:20 p.m. Defendant received
Plaintiff’ s written request to cease and desist further communications with
Plaintiff.

Despite receiving Plaintiff’-s written request, Defendant initiated multiple
telephonic communications per day with Plaintiff between September 13,
2013; and, September 17, 2013. Such contact after a cease and desist request
was received constitutes a violation of 15 U.S.C. § 16920(c)1 which is
incorporated into the R.FDCPA through Cal. Civ. Code § 1788.17. Thus,
Defendant also has violated Cal. Civ. Code § 1788.17.

With regard to Plaintiff" s alleged debt. Defendant acknowledged receipt of
Plaintiff’s cease and desist but informed Plaintiff that Defendant was not
bound by such a request and would continue collection efforts l

Moreover, after acknowledging receipt of Plaintiff’s September 10, 2013
cease and desist request, Defendant initiated telephonic communications with
regard to the alleged debt on September 18, 2013; September 20, 2013;
October 3, 2013; October 7, 2013; October 8, 2013; October ll, 2013;
October 15, 2013; October 17, 2013; and, October 18, 2013. Again, such
contact alter a cease and desist request was received constitutes a violation of
15 U.S.C. § 1692c(c), which is incorporated into the RFDCPA through Cal.
Civ. Code § 1788.17. Thus, Defendant also has violated Cal. Civ. Code §

 

CoMPLAINT FoR DAMAGES PAGE 5 oF 8

 

' Case 2:13-cv-O7835-F|\/|O-CW Document 1 Filed 10/23/13 Page 6 of 13 Page |D #:7

1788.17.
26. Through this conduct, Defendant violated 15 U.S.C. § ‘1~692d(5) by engaging

in conduct the natural consequence of which is to harass, oppress, or abuse a

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person in connection with the collection of a debt by causing Plaintiff s
telephone to...ring continuously with.intent..to.. annoy,~..abus.e,..,or harass any , . ., \,.~..
person at the called number. This section is incorporated in the RFDCPA
through Cal. Civ. Code § 1788.11(d)-(e); thus, Defendant has also violated
Cal. Civ. Code § 1788.11(d)-(e).
27. Through this conduct, Defendant violated 15 U.S.C. § 1692e(5) by threatening
" 'to take 'action that cannot legally be taken. 'This section is incorporated into
the RFDCPA through Cal. Civ. Code § 1788.17. Thus, Defendant also has
violated Cal. Civ. Code § 1788.17. q
28. `Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by using

 

 

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false representations and deceptive means to collect Plaintiff’s alleged debt.
This section is incorporated into the RFDCPA through Cal. Civ. Code §
1788.17. Thus, Defendant also has violated Cal. Civ. Code § 1788.17.

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KAZEROUNI LAW GROUP, APC
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CoUNT I
VIoLATIoN OF THE FAIR DEBT CoLLECTIoN PRACTICES ACT
' 15 U.s.c. §§ 1692-1692(p) (FDCPA)'
[Against All Defendants]

29. Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.
30. The foregoing acts and omissions constitute numerous and multiple violations

of the FDCPA,
31. As a result of each and every violation of the FDCPA, Plaintiff is entitled to

any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages

for a knowing or willful`violation in the amount up to $1,000.00 pursuant to

 

 

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' ' Case 2:13-cv-O7835-F|\/|O-CW Document 1 Filed 10/23/13 Page 7 of 13 Page |D #:8

1 15 U.S.C. § l692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant

2 to 15 U.S.C. § 1692k(a)(3) from each Defendant individually.

3 CoUNT II

4 VIoLATIoN OF THE ROSENTHAL FAIR DEBT CoLLEchoN PRACTICES ACT
. 5 Cal. Civ. Code §§ 1788.-1.'788.321(RFDCPA)7 ,

6 [Against All Defendants]

7 32. Plaintiff incorporates by reference all of the above paragraphs of this

8 Complaint as though fully stated herein.

9 33. The foregoing acts and omissions constitute numerous and multiple violations
10 of the RFDCPA.
11 34. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
12 any actual damages pursuant to lCal. Civ. Code § 1788.30(a); statutory
13 damages for a knowing or willful violation in the amount up to $1,000.00 '
14 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and
15 costs pursuant to Cal. Civ. Code § 1788.30(0) nom each Defendant
16 individually.

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18 WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
19 ° an award of actual damages, in an amount to be determined at trial,
20 pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
21 individually;
22 ° an award of actual damages, in an amount to be determined at trial,
23 pursuant to 15 U.S.C. § l692k(a)(l), against each named Defendant
24 individually; '
25 ' an award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
26 § 1788.30(b), against each named Defendant individually;

27 ° an award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §

28 l692k(a)(2)(A), against each named Defendant individually;

 

 

CoMPLAINT FoR DAMAGES PAGE 7 or 8

KAZEROUNI LAW GROUI’, APC

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Case 2:13-cv-O7835-F|\/|O-CW Document 1 Filed 10/23/13 Page 8 of 13 Page |D #:9

° an award of costs of litigation and reasonable attorney’s fees, pursuant to
Cal. Civ. Code § 1788.30(0), against each named Defendant
individually.

° an award of costs of litigation and reasonable attorney’s fees, pursuant to
15 U.S.C. § 1692k(a)(3), against each named Defendant individually;
and,

' any and all other relief that this Court deems just and proper.

TRIAL BY JURY
35. Pursuant to the seventh amendment to the Constitution of the United States of
America, Plaintiff is entitled to, and demands, a trial by jury.

Dated: October 21, 2013 Respectfully submitted,

KAZEROUNI w GRoUP, APC
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By: -
S. MOHAMMAD KAZEROUNI, EsQ.
ATTORNEY FoR PLAINTIFF

 

 

 

 

CoMPLAINT FoR DAMAGES PAGE 8 ol= 8

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
DAVID VACCARO CASE NUMBER

CV13 - 07835 FMO (CWX)

PLAlNTlFF(s)
V.

 

PRINCE-PARKER & ASSOCIATES, INC.
SUMMONS

DEFENDANT(s).

 

To; DEFENDANT(s);

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached l!fcomplaint |:l amended complaint
l:l counterclaim |:l cross-claim or a motion under Rule12 of the Federal Rules _of Civil Procedure. The answer
or motion must_be_ser_vec_l on_the plaintiffs attorney._ S' Mohammad Kazero“m= Esq- __", whose address is
245 FlsclTer Avenue, Umt D 1, Cos`taivlesa, t,`A 9202() _ Ifyou fail to do 303

judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer or motion with the court.

Dated: [_1 r‘T

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[Use 60 days if the defendant is the United States or a United States agem:j,'l or is an ojicer or employee ofthe United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-Ol A (10/1 1 SUMMONS

Case 2:13-cv-O7835-F|\/|O-CW Document 1 Filed 10/23/13 Page 10 of 13 Page |D #:11

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

This case has been assigned to District ]udge Fernando M. Olguin and the assigned
Magistrate ]udge is Carla Woehrle

 

The case number on all documents filed with the Court should read as follows:

CV13-07835 FMO (CWX)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate Iudge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Iudge.

Clerk, U. S. District Court

 

 

 

October 23, 2013 By Maria Barr
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (1f a removal action is
jiled, a copy of this notice must be served on all plaintijjrs).

Subsequent documents must be filed at the following location:

E] Western Division |:] Southern Division [:| Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASS|GNMENT TO UNITED STATES ]UDGES

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l. (a] PLAINTIFFS ( Check box ifyou are representing yourself I:] )

DAV`|D VACCARO

DEFENDANTS

(Check box if you are representing yourself [:] )

PR[NCE-PARKER & ASSGC!ATES. |NC.

 

(b) Attorneys (Firm Narne, Address and Te|ephone Number. |fyou
are representing yourself, provide same information.)

S. Mohammad Kazerouni, Esq. (SBN 252835)

245 Fischer .Ave1 Suite Di, Costa Mesa, CA 92626
Te|. 800-400-6808 e)tl. 3 ;Fax 800-520-5523

 

(b) Attorneys (Firm Name. Adc|ress and Te|ephone Number. |f you
are representing yourself provide same information.)

 

ll. BAS|S OF JUR|SD|CT[ON (P|ace an X in one box only.)

 

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CLASS ACT|CN under F.R.Cv.P. 23:

|:]Yes [Z| No

[:| MONEY DEMANDED lN COMPLA|NT: $

 

V[. CAUSE OF ACTlON [Cite the U.5. Civi| Statute under which you are filing and write a brief statement of cause. Do not citejurisdictiona| statutes unless diversily.)

15 U.S.C. § 1692. et Seq.:and Cal. Civ. Code§ 1788. et seq.

 

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870 Taxes (U. S. Plaintiff or
Defendant)

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FOR OFFICE USE ON].Y:

Case Number:

CV13 - 07835 FMO (CWX)

 

 

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CN|L COVER SHEET

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"Case 2:13-cV-O7835-FI\/|O-£`W Document 1 Filed 10/23/13 P'Qge 12 of 13 Page |D #:13

UN|TED STATl )lSTRlCT COURT,r CENTRAL DlSTR|CT t _`AL|FORN|A
ClVlL COVER SHEET

Vllll VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned This initial assignment
is subject to change, in accordance with the Coun's Genera| Orders, upon review by the Court ofyour Complaint or Norice of Rem ova|,

 

Quest|on A: Was this case removed from
state caurtl

 

 

 

 

[:] Yes E] No m Los Ange|es Westem
lf "no. " go to Question B. lf "yes." check the |:| Ventura, Santa Barbara, or San Luis Obispo We$¥em
box to the right that applies, enter the
corresponding division in raponse to |:I Orange Souih€rl'l
Question D, below. and skip to Section iX.

|:_] Riverside Or San Bernardino EaS\\`-‘m

 

 

 

 

 

Question B: ls the United States, or one of
|ts agencies or employees, a party to this
action?

   

EYesl:|No

  
     

 

 

 

 

if "no, " go to Question C. lf'yes." check the [:] Los Angeles m Los Angeles Western
box t° the light that_ applles' enter the Ventura. Santa Barbara. or San Luis Ventura. Santa Barbara. or San Luis
corresponding division in rEponse to m Obispo m Obispo We$l~em
Questlon D, below, and skip to Section lX.
E] Orange |:} Orange Southern
m Riverside or San Bernardino m Riverside or San Bernardino Eastern
[:] Other |:| Other Western

 

 

 

 

 

 

lndlcate the location ln which a
majority of plaintiffs reside:

cl 1:1 1:1
til;?i?,‘;‘a';i?;i;'i:;‘:;§:§: 1:1 m 1:1 m 31 m
m m m

|ndlca.te the location in which a

 

 

 

 

 

 

 

 

C.1 . ls either of the following true? lf so, che:kthe onethnt applies: C.2. ls either ofthe following true? lf so, checkthe one that applies:
|:] 2 or more answers in Column C I:| 2 or more answers in Column D
l:] only 1 answer in Column C and no answers in Column D |:l only 1 answer in Column D and no answers in Column C
Your case will initially be assigned to the Your case will initially be assigned to the
SOUTHERN D|VIS|ON. EASTERN DlVlSlON.
Enter 'Southem" in response to Question D, below. Enter "Eastem“ in response to Question D. below.
if none applies. answer question C2 to the right. 1-* lf none applies, go to the box beiow_ l

 

 

Your case will initially be assigned to the
WESTERN D|V|SION.
Enter "Western" |n response to Ouestion D below.

 

 

 

 

Enter thelnltial division determined by Question A B,or C above n 4 - d

Western Dlvlsion

 

 

 

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UNITED . iTES DlSTR|CT COURT, CENTRAL DlST. f OF CAL|FORN|A

 

ClVlL COVER SHEET
l)((e). |DENTlCAL CASES: Has this action been previously filed in this court and dismissed remanded or closed? [E NO [:| YES
lf yes, list case number(s):
lX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO |:] YES

lf yes, list case number(s):

 

Civil cases are deemed related if e previously filed case and the present case:

(Check all boxes that apply}

X. SlGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LlTlGANT):

m A. Arise from the same or closely related transactionsl happenings. or events; or

|:] B. Ca|l for determination ofthe same or substantially related or similar questions of law and fact; or

|:| C. For other reasons would entail substantial duplication of|abor if heard by different]udges; or

|:| D. involve the same patent, trademark or copyright,,a_g_d_one of the factors identified above in a, b or c also is present.

/) /

? ' s
::`W ~- DATE; Octoberzz, 2013

V

Notice to CounseilFarties: The CV-71 05-44) Civii Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. Tl'iis form, approved by the Judici'a| Conference of the United States in September 1974. is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet).

 

 

Key to 5mtistical codes relating to Social 5ecurity Cases:

Nuti.ire of Suit Code

861

862

863

863

864

865

Abbreviation

HIA

BL

DlWC

Dl'l.'li'W

SSlD

RSl

Substa ntive Statement of Cal.lse of Action

Ali claims for health insurance benefits (Medicare) under iitle 18. Part A. of the Social Security Act, as amended. Also,
include claims by hospita|s, skilled nursing facilities, etc_, for certification as providers of services under the program.
(42 U.S.C. 193SFF(b))

All claims for "Black Lungll benefits under Title 4, Part B. of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under `l'itle 2 of the Soclal 5ecurity Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows orw`idowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title ioof the Social Security AcL as
amended

All claims for retirement (old age) and survivors benefits under Tit|e 2 ofthe Social 5ecurity Act, as amended
(42 U.S.C. 405 (g))

 

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